UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

THE NEW YORK TIMES COMPANY,
                                           23-cv-11195 (SHS) (OTW)
                        Plaintiff,
           V.

MICROSOFT CORPORATION, OPENAI, INC.,
OPENAI LP, OPEN AI GP, LLC, OPENAI, LLC,
OPENAI OPCO LLC, OPENAI GLOBAL LLC, OAI
CORPORATION, LLC, and OPENAI HOLDINGS,
LLC,
                        Defendants.

DAILY NEWS LP, ET AL.
                                           24-cv-3285 (SHS) (OTW)
                        Plaintiff,
           V.

MICROSOFT CORPORATION, OPENAI, INC.,
OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,
OPENAI OPCO, LLC, OPENAI GLOBAL, LLC,
OAI CORPORATION, LLC, and OPENAI
HOLDINGS, LLC,
                        Defendants.

THE CENTER FOR INVESTIGATIVE               24-cv-4872 (SHS) (OTW)
REPORTING, INC.
                        Plaintiff,
           V.

OPENAI, INC., OPENAI GP, LLC, OPENAI, LLC,
OPENAIOPCOLLC,OPENAIGLOBALLLC,OAI ORDER
CORPORATION, LLC, OPENAI HOLDINGS,
LLC, and MICROSOFT CORPORATION,
                        Defendants.




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SIDNEY H. STEIN, U.S. District Judge.
    Defendants Microsoft Corporation and OpenAI Inc. et al. have moved to dismiss
several counts of the complaints in the three above-captioned copyright actions.
Specifically, defendants move to dismiss (1) the contributory copyright infringement
claims; (2) the Digital Millennium Copyright Act ("DMCA") claims; and (3) the
common law unfair competition by misappropriation claims. Microsoft also moves to
dismiss the state law trademark dilution claim in Daily News LP, et al. v. Microsoft
Corporation et al., No. 24-cv-3285 ("the Daily News action"), and OpenAI moves to
dismiss (1) the plaintiffs' direct copyright infringement claims involving conduct in
2019 and 2020 as time-barred by the statute of limitations; (2) the plaintiffs' federal
trademark dilution claim in the Daily News action; and (3) the "abridgment" claims in
The Center for Investigative Reporting, Inc. v. OpenAI, Inc. et al., No. 24-cv-4872 ("the CIR
action").
    On January 14, 2025, the Court conducted oral argument on defendants' motions.
After due deliberation, the Court hereby denies (1) OpenAI's motions to dismiss the
direct infringement claims involving conduct occurring more than three years before
the complaints were filed; (2) the defendants' motions to dismiss the contributory
copyright infringement claims; and (3) the defendants' motions to dismiss the state and
federal trademark dilution claims in the Daily News action.
    The Court grants defendants' motions to dismiss the common law unfair
competition by misappropriation claims and OpenAI' s motion to dismiss the
"abridgment" claims in the CIR action, and dismisses each of those claims with
prejudice.
    With respect to the DMCA claims, the Court grants (1) Microsoft's motions to
dismiss the section 1202(b)(1) claims against it in all three actions, (2) OpenAI' s motion
to dismiss the section 1202(b)(l) claim against it in The New York Times Company v.
Microsoft Corporation, et al., No. 23-cv-11195 ("the Times action"), and (3) defendants'
motions to dismiss the 1202(b )(3) claims against them in all three actions, and dismisses
each claim without prejudice. The Court denies OpenAI' s motions to dismiss the
1202(b)(1) claims against it in the Daily News and CIR actions.




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   The Court will issue an Opinion setting forth the reasons for this ruling
expeditiously. The Clerk of Court is directed to close the following docket numbers: (1)
ECF Nos. 51 and 64 in the Times action; (2) ECF Nos. 76 and 80 in the Daily News action;
and (3) ECF Nos. 69, 72, 96, and 99 in the CIR action.


Dated: New York, New York
       March 26, 2025

                                         SO ORDERED:




                                         Sidney Bfatein, U.S.D.J.




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